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                                             UNITED STATES DISTRICT COURT
                                                DISTRICT OF MINNESOTA




RONALDO LIGONS, et al.,                                                                         Case No. 15‐CV‐2210 (PJS/BRT)

                        Plaintiffs,

v.                                                                                              ORDER OF DISMISSAL

MINNESOTA DEPARTMENT OF CORRECTIONS,
et al., 

                        Defendants.
                                                                                                                                                             

           Based upon the Stipulation for Dismissal filed by the parties on 

November 16, 2016 [ECF No. 90],

            IT IS ORDERED that all claims against defendant Centurion of Minnesota, LLC

are dismissed with prejudice and on the merits, without costs or disbursements to any

party. 




Dated: November 16, 2016                                                              s/Patrick J. Schiltz                                      
                                                                                    Patrick J. Schiltz
                                                                                    United States District Judge 
